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                                                                                    August 29, 2019
VIA ECF
Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007
       Re:     Jane Doe, et al. v. Trump Corp., et al., 1:18-cv-9936 (LGS)

Dear Judge Schofield:

         The Court has directed the Parties to set forth their respective positions “regarding
Defendants’ proposed motion to compel arbitration and any other issue the parties would like the
Court to address.” (Doc. No. 98; accord Doc. No. 100.) The parties therefore submit this joint
letter, as well as a modified proposed Case Management Plan and Scheduling Order (based on the
Court’s form), to which they have made adjustments reflecting the current stage of the
proceedings.
Plaintiffs’ Statement
     Defendants’ proposed motion to compel arbitration is both meritless and untimely. Further,
although the Court dismissed Plaintiffs’ RICO claims, it denied Defendants’ motion to dismiss
Plaintiffs’ common law and other statutory claims, and discovery on those claims should now
commence. Plaintiffs have proposed a workable approach to pseudonymity for discovery, one that
is routinely used in other cases in this District. A proposed protective order is attached.
   A. Defendants’ Motion to Compel Arbitration Lacks Merit
    Merits. Defendants’ anticipated motion will not succeed because “arbitration is a matter of
consent, not coercion,” and “arbitration agreements [are to be] as enforceable as other contracts,
but not more so.” Ross v. Am. Exp. Co., 547 F.3d 137, 143 (2d Cir. 2008). There is no dispute that
Defendants are not signatories to the agreements containing the purportedly relevant arbitration
provisions—and the doctrine of “equitable estoppel” that Defendants invoke to avoid the
foundational requirement of a signature is, in this case, unavailable.
    A non-signatory may compel a signatory to arbitrate in rare circumstances and only where two
requirements are met. First, “the issues the non-signatory is seeking to resolve in arbitration [must]
be intertwined with the agreement that the estopped party has signed.” Sokol Holdings, Inc. v.
BMB Munai, Inc., 542 F.3d 354, 358 (2d Cir. 2008) (citation omitted). Second, “there must be a
relationship among the parties of a nature that justifies a conclusion that the party which agreed to
arbitrate with another entity should be estopped from denying an obligation to arbitrate a similar
dispute with the adversary which is not a party to the arbitration agreement.” Id.
    Defendants can satisfy neither prong of Sokol Holdings. While it is true, as Defendants suggest,
that Plaintiffs were “damaged by statements and omissions allegedly made by Mr. Trump about
ACN while he was employed as the company’s spokesperson” (Doc. No. 94-1 at 2.), the
intertwinement inquiry is centered not on damages, but on whether “the subject matter of the
dispute was intertwined with the contract providing for arbitration.” Sokol, 542 F.3d at 361
(emphasis added). In JLM Industries, Inc. v. Stolt-Nielsen SA, for example, the plaintiffs’ claims
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were held to be intertwined with contracts providing for arbitration because the claims turned on
“allegedly inflated price terms” in the contracts themselves. 387 F.3d 163, 178 (2d Cir. 2004). And
in Choctaw Generation Ltd. Partnership v. American Home Assurance Co., the plaintiffs’ claims
were held to be intertwined because they concerned a demand for a letter of credit “arguably
[made] pursuant to a provision of the construction contract” that provided for arbitration. 271 F.3d
403, 403 (2d Cir. 2001). Here, in stark contrast, Plaintiffs’ claims do not require resolution of any
term of any contract between Plaintiffs and ACN—and are not intertwined with those agreements
in any way. Plaintiffs’ claims instead turn on Defendants’ false and misleading statements about
ACN, and their deliberate efforts to mislead ACN recruits about the nature of their relationship
with ACN.
     Defendants’ motion also fails Sokol’s second prong. As Sokol clarified, because it remains a
“black letter rule that the obligation to arbitrate depends on consent,” the estoppel doctrine “simply
extend[s] its contours somewhat by establishing that the consent need not always be expressed in
a formal contract made with the party demanding arbitration.” 542 F.3d at 361–62. Thus, a
“necessary circumstance” for the application of estoppel is “a relationship among the parties which
. . . support[s] the conclusion that x had consented to extend its agreement to arbitrate to y.” Id.;
accord JLM Indus., Inc., 387 F.3d at 177 (concluding that a court may allow a non-signatory to
compel a signatory into arbitration only after a “careful review of the relationship among the
parties [and] the contracts they signed”). Defendants must therefore show that when Plaintiffs
signed their agreements with ACN, they actually, subjectively consented to arbitrate their present
claims against Defendants because of some agency or employee relationship between Defendants
and ACN. See Ross, 547 F.3d at 148. Here, the entire theory of the case is to the contrary: each
Plaintiff affirmatively alleges that they were induced to invest in ACN precisely because they
thought Trump was distinct from ACN—and that Defendants were endorsing ACN’s business
opportunity as objective observers, not as agents or employees. (E.g., AC ¶¶ 191, 193.)
    Not surprisingly, for these reasons, there is not a single reported case that compels arbitration
with a non-signatory to an arbitration agreement that comes even close to the circumstances present
here. To the contrary, cases invoking equitable estoppel succeed only where they involve an
employee, executive, or the patently obvious assent of the named defendant. See Meyer v. Uber
Technologies, Inc., 868 F.3d 66, 80 n.11 (2d Cir. 2017) (“Courts in this and other circuits
consistently have held that employees or disclosed agents of an entity that is a party to an
arbitration agreement are protected by that agreement.” (emphasis added)); see also Medidata
Solutions, Inc. v. Veeva Sys. Inc., No. 17 Civ. 589, 2018 WL 1083968, at *2 (S.D.N.Y. Feb. 27,
2018) (Schofield, J.) (concluding that relationships “of co-conspirators and employer-
employee . . . are insufficient to compel arbitration under principles of equitable estoppel”), aff’d,
748 F. App’x 363 (2d Cir. 2018). The Amended Complaint belies the notion that Plaintiffs actually
and subjectively believed that they were agreeing to arbitrate with the Trumps when signing any
agreements with ACN.
    Untimeliness. Defendants offer no explanation for their considerable delay in filing their
motion—and none exists, beyond their flagrant desire for tactical advantage. There are no new
facts. There is no new law. There is only delay—inexplicable and unjustifiable delay—constituting
more than an eight-month period after the filing of the original complaint. For good reason, courts
regularly conclude that parties waive their right to arbitrate when they delay seeking such relief
and there is prejudice to the non-moving party. See La. Stadium & Expo. Dist. v. Merrill Lynch,
Pierce, Fenner & Smith, Inc., 626 F.3d 156, 159 (2d Cir. 2010).

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    While there is no “bright-line rule” that controls exactly how much delay causes waiver of a
party’s right to arbitrate claims, id., courts look to whether the movant’s litigation conduct “has
been largely inconsistent with its present assertion of its right to compel arbitration.” Leadertex,
Inc. v. Morganton Dyeing & Finishing Corp., 67 F.3d 20, 26 (2d Cir. 1995). The Second Circuit
has concluded that a party’s actions were inconsistent with its asserted right to compel arbitration
where it “could have invoked the arbitration clause at the outset of the litigation . . . but it chose
not to.” Id. (emphasis added); accord Beach v. JPMorgan Chase Bank, N.A., 2019 WL 2428631,
at *5 (S.D.N.Y. June 11, 2019) (concluding that “Defendants waived any right to compel
arbitration,” because their “actions demonstrate[d] an intent to litigate”).
    Here, it could hardly be clearer that Defendants “chose” not to seek to compel arbitration at
the outset, presumably in the hope that they would succeed on their motion to dismiss. More
specifically, although they certainly were aware of the issue of arbitration during the first eight
months of this case, 1 Defendants affirmatively demonstrated a clear intent to litigate, not arbitrate.
They first invoked this Court’s jurisdiction by filing two motions to dismiss, rather than motions
to compel arbitration or in the alternative to dismiss, which is common practice in this District.
See, e.g., Harris v. TD Ameritrade Inc., 338 F. Supp. 3d 170, 182 (S.D.N.Y. 2018) (addressing
such an alternative motion and noting that “[e]ven if the arbitration issue is not considered
jurisdictional, it should ordinarily be addressed first as a matter of judicial efficiency”). Then, they
came to this Court with a proposed case management schedule that made no mention of arbitration.
Finally, Defendants invoked the Court’s subpoena power by serving a series of non-party
document preservation subpoenas on friends and family members of the pseudonymous Plaintiffs.
Significantly, Defendants have provided not a word of explanation for their delay in raising the
issue, other than the fact that they lost their motion to dismiss. Plaintiffs, of course, have devoted
substantial time, resources, and effort to pressing their claims in this Court. As the Second Circuit
has made clear, a plaintiff suffers prejudice from a mid-litigation motion to compel arbitration
when the “proffered excuse for the delay” is nowhere to be found. Leadertex, Inc., 67 F.3d at 26. 2
    B. Discovery Should Commence
    When the Court denies a motion to dismiss, in whole or in part, the next step in a case is
discovery. But here, Defendants assert that the next step should instead be a further stay of
discovery pending the resolution of their motion to compel arbitration.

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  As early as November 30, 2018, Defendants criticized this case as a “ploy” to “bypass contractually mandated
arbitration” (Doc. No. 46 at 1), and repeatedly referred to the arbitration agreements thereafter (see Doc. No. 48 at 2,
5; Doc. No. 65 at 6; Doc. No. 66 ¶¶ 28–30; Doc. No. 84 at 6; Doc. No. 85 ¶¶ 10–11). In fact, in one letter to the Court,
Defendants argued that Plaintiffs had waived Plaintiffs’ right to arbitrate against ACN by filing this lawsuit against
Defendants. (See Doc. No. 48 at 5.)
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  Unsurprisingly, precedent—including cases cited by Defendants—shows that courts excuse delay only when the
delay is justified by something other than a crude desire to obtain a tactical litigation advantage. For example, in Rush
v. Oppenheimer & Co., 779 F.2d 885 (2d Cir. 1985), and Sweater Bee by Banff, Ltd. v. Manhattan Indus., Inc., 754
F.2d 457 (2d Cir. 1985), the Second Circuit excused delayed arbitration requests only because the plaintiffs asserted
both arbitrable and non-arbitrable claims and the court concluded that it was reasonable for the defendants to choose
to litigate the non-arbitrable claims while reserving their right to later move to arbitrate the others. See also Estrella
v. Freedom Fin. Network, LLC, No. 09 Civ. 3156, 2012 WL 214856, at *4 (N.D. Cal. Jan. 24, 2012) (granting motion
to compel where intervening law and events made claims arbitrable). This reading of Rush and Sweater Bee is
confirmed by Kramer v. Hammond, which emphasized that a party is prejudiced where its adversary offers no “sound,
nonprejudicial reasons to justify the delays and the additional expenses incurred when the parties did not immediately
invoke arbitration.” 943 F.2d 176, 179–80 (2d Cir. 1991).

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     Under Federal Rule of Procedure 26(c), however, the moving party has the burden of showing
“good cause” for a stay of discovery, and “it is well-settled that the mere filing of a dispositive
motion does not, by itself,” suffice. Hearn v. United States, No. 17 Civ. 3703, 2018 WL 1796549,
at *2 (E.D.N.Y. Apr. 16, 2018) (internal quotation marks omitted). Instead, the Court must
consider several familiar factors, including “the strength of the pending motion forming the basis
of the request for stay,” as well as “the breadth of discovery sought, the burden of responding to
it, [and] the prejudice that would result to the party opposing the stay.” Republic of Turkey v.
Christie’s, Inc., 316 F. Supp. 3d 675, 677 (S.D.N.Y. 2018) (citation omitted).
    For the reasons discussed above, Defendants cannot possibly make the “strong showing” with
respect to the strength of their anticipation motion to compel arbitration. Telesca v. Long Island
Hous. P’ship, Inc., No. 05 Civ. 5509, 2006 WL 1120636, at *1 (E.D.N.Y. Apr. 27, 2006); see also,
e.g., Gerald Chamales Corp. v. Oki Data Americas, Inc., 247 F.R.D. 453, 455 (D.N.J. 2007) (“[I]f
the Court accepts defendants’ argument that all depositions should be stayed pending the decision
on its dispositive motion [regarding arbitration], then it would in effect be ruling that every time a
request to compel arbitration is filed good cause exists to issue a protective order to stop
depositions while the request is pending. This is not the law.”).
    Neither breadth nor burden of discovery presents any basis for a stay either. Prior to the initial
stay of discovery, Plaintiffs served certain targeted requests on all Defendants, seeking corporate
records and other foundational documents and information. When the stay of discovery was lifted,
Defendants served certain additional targeted requests directed solely at The Trump Corporation.
To date, Defendants have not identified any request as beyond the scope of the matters at issue.
Moreover, “[a]s in all cases, the Plaintiff, the Court, and the public have an interest in
the expeditious resolution of [this] case.” U.S. Commodity Futures Trading Comm’n v. Lamarco,
No. 2:17 Civ. 4087, 2018 WL 2103208, at *5 (E.D.N.Y. May 7, 2018). Those interests in a just,
speedy resolution are heightened because Plaintiffs have already endured a prolonged stay of
discovery during the pendency of Defendants’ motion to dismiss.
    Perhaps even more importantly, Defendants concede that they are not even in a position to
move to compel arbitration at this time since they need discovery, including discovery from
Plaintiffs, prior to filing such a motion. (This, of course, is due to the fact that Defendants do not
actually have copies of any arbitration agreements with Plaintiffs—because Defendants were not
parties to them.) Plaintiffs, in turn, would also seek discovery about the contractual and other
relationships between Defendants and ACN in order to oppose the motion and distinguish this case
from the rare scenarios in which courts have permitted non-parties to enforce arbitration
agreements. Given that such discovery would necessarily overlap with merits discovery in any
event, the more efficient course would obviously be to proceed as one would in any case in which
a party believes it may have a potentially dispositive motion depending on what it finds in
discovery: allow discovery on all issues, and Defendants can make their motion in due course.
   C. Plaintiffs’ Proposed Schedule and Proposed Protective Order
       1. Proposed Schedule
    Plaintiffs remain committed to pursuing discovery expeditiously and submit a revised proposed
Case Management Plan and Scheduling Order including a six-month fact-discovery period, with
an additional three months for expert discovery. Those periods are adapted from, and generally
consistent with, deadlines in the proposed case management plan jointly submitted by the parties
on December 6, 2018 (Doc. No. 48).

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         2. Protective Order
    As the Court is aware, the parties have extensively briefed and argued the issue of
pseudonymity. (Doc. Nos. 3, 4, 46, 52, 59.) During the December 2018 initial conference, the
Court made findings of fact, 3 concluding that the potential harms Plaintiffs face “are real,
significant, and present an unwarranted obstacle to those who would seek to vindicate their rights
in federal court.” (Doc. No. 59 at 27:10-12.) By contrast, the Court found that, in the circumstances
of this case, “the public interest in knowing the specific identity of the named plaintiffs or the class
members they would represent is minimal.” (Id. at 28:10-12.) Based on those findings, the Court
granted Plaintiffs’ motion, concluding that “plaintiffs have met their burden of showing that they
face at least risks of harm.” (Id. at 26:8-9.)
    Immediately following this Court’s decision on Defendants’ motion to dismiss, Plaintiffs
proposed to Defendants a protective order governing discovery in this action. Recognizing that the
Court granted Defendants’ original motion to stay discovery at least partly because of a concern
that without careful consideration of how to manage disclosure of Plaintiffs’ identities, the “cat
[could get] out of the bag,” and “events could get ahead of us” (Id. at 29:24-30:1), Plaintiffs took
heed of the Court’s directive that pseudonymity would need to be revisited following a decision
on the motion to dismiss. (Doc. No. 54.)
    We respectfully submit that Plaintiffs’ proposed protective order provides a workable solution
to the question of how to continue to protect Plaintiffs while proceeding with discovery. (See Doc.
No. 59 at 29:23-30:1.) 4 The order would permit disclosure of Plaintiffs’ identities to Defendants
and their counsel, while preserving Plaintiffs’ public anonymity to protect Plaintiffs against the
very real risks that the Court identified. Courts in the Southern District routinely permit plaintiffs
to proceed pseudonymously through discovery in this manner. 5
    Indeed, the parties are mostly in agreement as to the substantive provisions in the protective
order since Defendants have proposed adopting it, but only with respect to the limited discovery
that they seek in connection with their proposed motion to compel arbitration. But it would be very
inefficient, not to mention time-consuming, for the parties to enter into one protective order with
respect to the discovery Defendants want on their motion to compel arbitration and another
protective order with respect to the rest of discovery. Instead, there should be one protective order
that governs all discovery. Accordingly, Plaintiffs respectfully submit their proposed protective
order to the Court. (See Exhibit A.)


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  For example, the Court found that Plaintiffs had cited “ample evidence of retaliation and other harms in other cases
in similar circumstances, which is sufficient to meet their burden” (Doc. No. 59 at 27:3-5), and that Defendants’
“consistent pattern of past conduct . . . gives rise to a reasonable inference that [Plaintiffs] may suffer harm as a result
of being identified in this action” (id. at 26:10-12).
4
 Because the proposed protective order addresses the only consideration that has changed since the Court granted
Plaintiffs’ motion to proceed under pseudonyms, Plaintiffs request that the Court allow its order regarding
pseudonymity to continue through the end of discovery.
5
 See, e.g., Feibleman v. Trs. of Columbia Univ. in the City of New York, No. 19 Civ. 4327, Doc. No. 43 (S.D.N.Y.
June 28, 2019) (Caproni, J.); Doe v. Lima, 270 F. Supp. 3d 684 (S.D.N.Y. 2017) (Engelmayer, J.), aff’d, 758 F. App’x
181 (2d Cir. 2019); Doe v. Delta Airlines, Inc., 310 F.R.D. 222 (S.D.N.Y. 2015) (Engelmayer, J.), aff’d, 672 F. App’x
48 (2d Cir. 2016) (Engelmayer, J.); Doe v. Goord, No. 04 Civ 570, 2005 WL 3116413 (S.D.N.Y. Nov. 22, 2005)
(Peck, M.J.); Roe v. City of New York, 232 F. Supp. 2d 240 (S.D.N.Y. 2002) (Sweet, J.).

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Defendants’ Statement
I.     The Motion to Compel Arbitration

        Defendants respectfully request that the Court enter an order pursuant to the Federal
Arbitration Act (“FAA”) compelling Plaintiffs to arbitrate their claims against Defendants, and
to stay litigation of this action pending a decision on Defendants’ motion and any subsequent
arbitration ordered by the Court. See 9 U.S.C. §§ 3-4.

        A.      The Relevant Facts Pled or Incorporated in the Complaint. Plaintiffs allege that
they paid money to a multi-level marketing company, American Communications Network
(“ACN”), to become Independent Business Owners (“IBOs”) for ACN. Plaintiffs further allege
that they failed to recoup this initial investment in ACN and that they registered for ACN
because of a fraud perpetrated by ACN (whom Plaintiffs have not sued) and Defendants. In
particular, Plaintiffs contend that, while acting as ACN’s paid spokesperson, Donald J. Trump
understated the risks and overstated the benefits of the ACN business opportunity, and that Mr.
Trump and ACN failed to disclose that ACN was paying him for his endorsement. In order to
become IBOs, ACN required Plaintiffs to enter into written agreements with ACN (the “IBO
Agreements”). In 2013 and 2014, when Plaintiffs Moe, Doe and Loe became IBOs, the IBO
Agreements contained the following arbitration clause: “In the event of a dispute between me
and ACN as to our respective rights, duties and obligations arising out of or relating to this
Agreement, it is agreed that such disputes shall be exclusively resolved through binding
arbitration before the American Arbitration Association” (“AAA”). In 2016, when Plaintiff Roe
signed up, the IBO Agreement stated that “ACN and I will resolve all disputes through binding
arbitration before the [AAA] . . . . Both ACN and I agree that all disputes will be resolved on an
individual basis and that each may only bring claims against the other in an individual capacity
(and not as a claimant or class member in any purported class or representative proceeding).”
See Exhs. 7-9, Affirmation of Cynthia Chen in Support of Defendants Motion to Dismiss the
Complaint, dated February 21, 2019. Defendants are not signatories to these agreements.

         B.     The Legal Standard. The FAA “is an expression of ‘a strong federal policy
favoring arbitration as an alternative means of dispute resolution.’” Ragone v. Atl. Video at
Manhattan Ctr., 595 F.3d 115, 121 (2d Cir. 2010). The Second Circuit “has said that ‘it is
difficult to overstate the strong federal policy in favor of arbitration, and it is a policy we have
often and emphatically applied.’” Id. This “policy in favor of arbitration” extends, in certain
circumstances, to parties that are not signatories to the underlying agreements. Second Circuit
law is unambiguous on this point: “[u]nder principles of estoppel, a non-signatory to an
arbitration agreement may compel a signatory to that agreement to arbitrate a dispute where a
careful review of the relationship among the parties, the contracts they signed …, and the issues
that had arisen among them discloses that the issues the nonsignatory is seeking to resolve in
arbitration are intertwined with the agreement that the estopped party has signed.” Id. at 126-27
(internal quotation marks omitted). “In addition to the ‘intertwined’ factual issues, there must be
a relationship among the parties of a nature that justifies a conclusion that the party which agreed
to arbitrate with another entity should be estopped from denying an obligation to arbitrate a
similar dispute with the adversary which is not a party to the arbitration agreement.” Id. at 127
(internal quotation marks and modifications omitted).



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         Separate and apart from the doctrine of equitable estoppel, an agency relationship
between a contracting party and a non-signatory may supply a basis for compelling arbitration
with a non-signatory. While it is an open question in the Second Circuit, Ross v. American Exp.
Co., 547 F.3d 137, 143 n.3 (2d. Cir. 2008), courts in this district have held that “employees or
disclosed agents of an entity that is a party to an arbitration agreement are protected by that
agreement.” Alghanim v. Alghanim, 828 F. Supp. 2d 636, 650 (S.D.N.Y. 2011) (internal
quotation marks omitted). See also Dunmire v. Hoffman, No. 05 Civ. 4852(DAB), 2006 WL
2466248, at *3 (S.D.N.Y. Aug. 24, 2006) (“Generally, employees or disclosed agents of an entity
that is a party to an arbitration agreement are protected by that agreement.”); accord Bankers
Conseco Life Ins. Co. v. Feuer, 16 Civ. 7646 (ER), 2018 WL 1353279 (S.D.N.Y. Mar. 15, 2018).

        C.     Discussion. Plaintiffs’ claims are arbitrable under both theories. Under the
doctrine of equitable estoppel, the claims against Defendants are plainly “intertwined with” the
agreement that Plaintiffs signed with ACN. See Ragone, 595 F.3d at 127. All of Plaintiffs’
claims rest upon the allegation that Mr. Trump made statements and or omitted facts about ACN
while employed as the company’s spokesperson, by which Plaintiffs were harmed. The alleged
statements and omissions appeared on ACN DVDs, in magazine articles published by ACN, and
at ACN rallies, in response to questions put to Mr. Trump by an ACN host. (Amended Compl.
¶¶ 80-103, 137-155; see also id. ¶ 138 (“ACN promotional videos . . . failed to disclose that
Trump was being paid for his endorsement”); id. ¶ 139 (“Neither Trump nor ACN disclosed to
the audience that Trump was paid for this appearance”)). Indeed, the Amended Complaint
declares ACN “central to” the claims asserted against Defendants (id. ¶ 16), and Mr. Trump’s
endorsement “critical” to the success of ACN (id. ¶ 85). According to Plaintiffs, “[i]t was
ACN’s ability to associate itself with the Trump brand – a right that ACN secretly bought from
the Trump Enterprise – that drove the fraudulent message home and pushed investors to
overcome lingering doubts and invest in the ACN business opportunity.” (Id. ¶ 177; see also id.
¶ 170 (“ACN itself . . . boasted of its relationship with Trump and the legitimacy the Trump
brand afforded the Company”); id. ¶ 173 (“ACN made . . . clear that Trump’s brand was an
impactful recruiting tool for [IBOs] in two principal ways: first, it attracted the interest of
prospective [IBOs] and second, it would help close the deal with prospective recruits”); id. ¶ 174
(“One of the most important tools available to ACN representatives today is obviously the
Donald J. Trump endorsement” (emphasis removed)).) 6

        The requisite relationship between Plaintiffs and Mr. Trump is also present. Over nearly
200 pages, Plaintiffs sound a single complaint: Mr. Trump is the reason they signed up as IBOs,
paid money to ACN and sustained damages. Plaintiffs chose to become IBOs not because
friends and family vouched for ACN, although they did, and not due to anything Plaintiffs
learned from the IBO testimonials they viewed on DVDs, read in ACN magazines or heard live
at recruitment meetings – but because Mr. Trump endorsed the company. By their own pleading,
it was Mr. Trump’s endorsement of ACN that caused Plaintiffs to enter into the very contracts by
which they agreed to arbitrate with ACN. At the time Plaintiffs signed those agreements, it
therefore was predictable – indeed, it was obvious – that any dispute that might arise between
Plaintiffs and ACN concerning the ACN experience would likely implicate Mr. Trump. This
case thus fits the “pattern” of decisions in this Circuit that have applied the doctrine of equitable

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 These facts likewise establish an agency relationship between ACN and Mr. Trump sufficient to compel
Plaintiffs to arbitrate with Defendants on that basis.

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estoppel to require signatories to arbitrate with non-signatories on a theory of consent. See Ross,
547 F.3d at 145 (2d Cir. 2008) (quoting Sokol Holdings, Inc. v. BMB Munai, Inc., 542 F.3d 354
(2d Cir. 2008)). Here, as in those cases, the promise to arbitrate by one signatory is “reasonably
seen . . . as extending not only to the other signatory, but also to a non-signatory related to the
latter . . . that was, or would predictably become, with the knowledge and consent of the party
opposing arbitration, affiliated or associated with the other signatory in such a manner as to make
it unfair to allow the party opposing arbitration to avoid its commitment to arbitrate on the
ground that the non-signatory was not the very entity with which the party opposing arbitration
had a contract.” Ross, 547 F.3d at 145-46 (internal quotation marks and modifications omitted).

        Courts in this Circuit have applied principles of equitable estoppel on facts less
compelling than those present here. See, e.g., Ragone, 595 F.3d at 128 (affirming ruling
compelling arbitration of harassment claims brought against non-signatory where plaintiff
understood when she contracted with signatory that she would be working closely with non-
signatory); Denney v. BDO Seidman, L.L.P., 412 F.3d 58, 70 (2d Cir. 2005) (vacating denial of
motion to compel plaintiffs to arbitrate with non-signatory Deutsche Bank and signatory BDO
Seidman, where plaintiffs asserted Deutsche Bank and BDO Seidman jointly marketed
fraudulent tax shelters to plaintiffs); Bankers Conseco Life Ins. Co., 2018 WL 1353279, at *6-7
(compelling arbitration where plaintiff alleged non-signatory defendants fraudulently induced it
to enter contract with signatory); Cooper v. Ruane Cunniff & Goldfarb Inc., No. 16-CV-1900
(WHP), 2017 WL 3524682, at *7-8 (S.D.N.Y. Aug. 15, 2017), appeal withdrawn, 2017 WL
8219086 (2d Cir. Dec. 19, 2017) (granting motion to compel arbitration where plaintiff asserted
signatory employer and non-signatory investment advisor acted together to breach fiduciary
duties owed plaintiff); cf, Ross, 547 F.3d at 148 (reversing order compelling arbitration where
non-signatory defendant Amex was a “complete stranger” to the arbitration agreements between
plaintiffs and the rival banks who issued plaintiffs’ credit cards); Sokol, 542 F.3d at 362 (same,
where the proffered “close relationship” between the non-signatory and plaintiff arose entirely
from the non-signatory’s tortious interference with the contract between plaintiff and signatory
containing the arbitration clause).

        D.      The Motion to Compel Arbitration is Timely. On December 20, 2018, the Court
stayed discovery pending resolution of Defendants’ motion to dismiss for failure to state a claim.
(ECF No. 54.) On July 24, 2019, the Court granted in part and denied in part that motion. (ECF
No. 97.) On August 1, 2019, the Court stayed all discovery pending the parties’ appearance at a
conference on September 5. (ECF No. 102.) Other than serving third parties with document
preservation notices, no action has been taken to advance the lawsuit. Under such circumstances
there is no waiver of the right to arbitrate. See, e.g., Gonder v. Dollar Tree Stores, Inc., 144 F.
Supp. 3d 522, 527 (S.D.N.Y. 2015) (“Merely answering on the merits, appearing at hearings, and
participating in discovery, without more, will not necessarily constitute a waiver.”) (citing Gen.
Textile Printing & Processing Corp. v. Expromtorg Int’l Corp., 891 F. Supp. 946, 953 (S.D.N.Y.
1995)); Jung v. Skadden, Arps, Slate, Meagher & Flom, LLP, 434 F. Supp. 2d 211, 219
(S.D.N.Y. 2006) (granting defendant’s motion to stay case and compel arbitration under 9 U.S.C.
§§ 3-4, filed even after defendant lost its Rule 12(b)(6) motion). See also Rush v. Oppenheimer
& Co., 779 F.2d 885, 887-91 (2d Cir. 1985) (finding motion to compel arbitration timely after
defendant filed its motion to dismiss, answered, and participated in discovery); accord Sweater

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Bee by Banff, Ltd. v. Manhattan Indus., Inc., 754 F.2d 457, 463-66 (2d Cir. 1985) (motion to
compel arbitration timely after 12(b)(6) motion was briefed and decided).

II.    The Motion to Stay Merits Discovery Pending Decision on the Motion to Compel

        On August 1, 2019, Defendants moved the Court to stay discovery in this case pending
briefing and a decision on the contemplated motion to compel arbitration. (ECF Nos. 101 &
102.) We renew that motion and respectfully refer the Court to our August 1 filing for the legal
authorities that support it. Id. at 3-4. Defendants nonetheless request that the Court authorize
limited fact discovery or take evidence sufficient to establish that Plaintiffs in fact agreed to
arbitrate with ACN. See Dreyfuss v. eTelecare Glob. Sols.-US, Inc., No. 08 CIV. 1115 (RJS),
2008 WL 4974864, at *2 (S.D.N.Y. Nov. 19, 2008), aff’d, 349 F. App’x 551 (2d Cir. 2009)
(deciding motion to compel arbitration only after allowing limited discovery into existence of
arbitration agreement); Brennan v. Bally Total Fitness, 153 F. Supp. 2d 408, 416-17 (S.D.N.Y.
2001) (finding limited discovery necessary to decide motion to compel arbitration).

        Limited discovery or fact-finding by the Court is required in this case to establish
Plaintiffs agreed to arbitrate with ACN. As a first step, Plaintiffs must disclose their identities,
so that ACN can search its files for Plaintiffs’ IBO Agreements. To that end, on July 31, 2019,
Defendants and ACN provided Plaintiffs written undertakings to maintain Plaintiffs’ identities
on a “lawyer’s eyes only” basis. (Defendants made that offer notwithstanding that Plaintiffs are
no longer entitled to anonymity in this Court, the motion to dismiss having been decided and
Plaintiffs having failed to renew their motion to proceed under pseudonyms, as directed by the
Court. (ECF No. 54.)) Plaintiffs rejected that offer, insisting the parties instead negotiate a
formal protective order. The parties exchanged drafts and conferred extensively, but they have
not been able to agree upon a proposed order. Defendants are willing to adopt virtually
wholesale the substantive confidentiality provisions set forth in Plaintiffs’ draft protective order
(dated July 25, 2019), and have conveyed this to Plaintiffs. The parties’ disagreement centers on
the term or duration of the protective order: Defendants do not object to an order that protects
Plaintiffs’ identities from disclosure until the Court decides the motion to compel arbitration.
Plaintiffs, on the other hand, seek a protective order that preserves their anonymity through
merits discovery and trial. Defendants object to this on two grounds: First, no such order is
necessary. If the Court grants the motion to compel arbitration, there will be no merits
discovery, no trial nor any other proceedings in this Court, pending completion of the arbitration.
If the Court denies the motion, the parties can negotiate an all-purpose protective order at that
time. Second, whether and to what extent Plaintiffs will be permitted to proceed
pseudonymously during merits discovery or at trial is not before the Court, and Defendants
oppose Plaintiffs’ bid to settle that issue now, in their favor, via debates about the scope of a
protective order that need only apply while arbitrability is determined.

        Defendants continue to believe the undertakings contained in their July 31 letter are
adequate to protect Plaintiffs at this time. We therefore have asked Plaintiffs to include with this
joint submission a copy of that letter, together with a copy of Defendants’ proposed protective
order (also dated July 31, 2019), for the Court’s consideration. (Defendants’ proposed protective
order is an attachment to the July 31 letter, so Plaintiffs need only attach for the Court’s review
Defendants’ July 31 letter with attachments.) Defendants respectfully ask the Court to “so


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order” the written promises contained in the July 31 letter or, in the alternative, to enter
Defendants’ proposed protective order or one like it.

        One final point. During the parties’ meet and confer, Plaintiffs argued there should be no
stay nor a bifurcation of discovery in this case – that discovery on all subjects should proceed
now. The parties should make whatever motions they wish to make once they have developed
the factual bases for those motions, as they would “in any civil case,” Plaintiffs’ averred. That
argument overlooks the fact that, in the typical case, Plaintiffs’ names would appear in the
caption and Defendants could have asked ACN to search its records for Plaintiffs’ IBO
Agreements months ago, conceivably without formal fact-finding of any kind. It also ignores the
authorities already cited to the Court (ECF No. 101) that make clear a Court presented with a
motion to compel arbitration may stay merits discovery while permitting limited discovery on
the question of arbitrability. Defendants respectfully request the Court enter such an order.

       Defendants propose filing their motion to compel arbitration within ten days of
concluding discovery on whether Plaintiffs’ agreed to arbitrate with ACN. Defendants request
seven days within which to file a brief in reply to Plaintiffs’ opposition to that motion.




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                                              Respectfully submitted,



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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK


JANE DOE, LUKE LOE, RICHARD ROE, and
MARY MOE, individually and on behalf of all
others similarly situated,
                                                                     1:18 Civ. 9936 (LGS)
                                     Plaintiffs,
                   v.                                                 CIVIL CASE
THE TRUMP CORPORATION, DONALD J.                                   MANAGEMENT PLAN
TRUMP, in his personal capacity,                                    AND SCHEDULING
DONALD TRUMP JR., ERIC TRUMP, and                                        ORDER
IVANKA TRUMP,
                                   Defendants.

       LORNA G. SCHOFIELD, United States District Judge:

               This Civil Case Management Plan is submitted by the parties in accordance with
       Fed. R. Civ. P. 26(f)(3).

  1.       All parties [consent       / do not consent   X ] to conducting all further proceedings
           before a United States Magistrate Judge, including motions and trial. See 28 U.S.C. §
           636(c). The parties are free to withhold consent without adverse substantive
           consequences.

  2.       The parties [have      X / have not         ] conferred pursuant to Fed. R. Civ. P. 26(f).

  3.       This case is governed by one of the following sets of rules, and the parties’ proposed
           dates in this order have been adjusted accordingly.

              a.        An employment case governed by the Initial Discovery Protocols for
                        Employment cases?
                        [Yes     / No X ]

              b.        A case governed by Local Civil Rule 83.10, Plan for Certain § 1983
                        Cases Against the City of New York?
                        [Yes      / No X ]

              c.        A patent case subject to the Local Patent Rules and the Court's
                        Individual Rules?
                        [Yes       / No X ]

              d.        A wage and hour case governed by Initial Discovery Protocols for Fair
                        Labor Standards Act?
                        [Yes      / No X ]
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4.     Alternative Dispute Resolution/Settlement

         a.      Settlement discussions [have         / have not    X    ] taken place.

         b.      Counsel for the parties have discussed an informal exchange of
                 information in aid of early settlement and have agreed to exchange the
                 following:

                 N/A.




         c.      Counsel for the parties have discussed the use of the following alternate
                 dispute resolution mechanisms for use in this case: (i) a settlement
                 conference before a Magistrate Judge; (ii) participation in the District's
                 Mediation Program; and (iii) retention of a private mediator. Counsel for
                 the parties propose the following alternate dispute resolution mechanism
                 for this case:

                 The Parties have discussed the possibility of early settlement. The
                 Parties agree that the possibility of early settlement is unlikely, and that
                 discussion of the form or timing of alternative dispute resolution is
                 premature at this stage of the litigation.

         d.      Counsel for the parties recommend that the alternate dispute resolution
                 mechanism designated in paragraph 4(c) be employed at the following
                 point in the case (e.g., within the next 60 days; after the deposition of
                 plaintiff is completed (specify date); after the close of fact discovery):

                 N/A.




         e.      The use of any alternative dispute resolution mechanism does
                 not stay or modify any date in this Order.

5.     No additional parties may be joined after 21 days following service by Defendants of a
       pleading responsive to the Complaint or a motion under Rule 12(b), (e), or (f) without
       leave of Court.

6.     Amended pleadings may be filed without leave of Court until 21 days following service
       by Defendants of a pleading responsive to the Complaint or a motion under Rule 12(b),
       (e), or (f).

7.     Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than:

       The parties exchanged initial disclosures on December 10, 2018.
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8.     Fact Discovery

      [Plaintiffs’ Proposal

         a.      Defendants shall file their Answer no later than September 26, 2019.

         b.      All fact discovery shall be completed no later than March 3, 2020.

         c.      Initial requests for production of documents pursuant to
                 Fed. R. Civ. P. 34 shall be served by September 26, 2019.

         d.      Responses and Objections should be served by November 4, 2019.

         e.      Initial interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
                 November 4, 2019.

         f.      Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
                 March 3, 2020.

         g.      Initial requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
                 January 3, 2020.

         h.      Any of the deadlines in paragraphs 1(c) through 1(g) may be extended by
                 the written consent of all parties without application to the Court,
                 provided that all fact discovery is completed by the date set forth in
                 paragraph 1(b).]

       [Defendants’ Proposal

         a.     Defendants shall file their Answer no later than 21 days after the Court
                resolves Defendants’ motion to compel arbitration.

         b.     All fact discovery shall be completed no later than 180 days after the
                Court resolves Defendants’ motion to compel arbitration.

         c.     Initial requests for production of documents pursuant to Fed. R. Civ. P.
                34 shall be served no later than 21 days after the Court resolves
                Defendants’ motion to compel arbitration.


         d.     Responsive documents shall be produced beginning no later than 30
                days after the date listed in paragraph 8(c).

         e.     Initial interrogatories pursuant to Fed. R. Civ. P. 33 shall be served no
                later than 60 days after the Court resolves Defendants’ motion to
                compel arbitration.


         f.     Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by the
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                   date listed in paragraph 8(b) (i.e., the close of fact discovery).

           g.      Initial requests to admit pursuant to Fed. R. Civ. P. 36 shall be served
                   no later than 120 days after the Court resolves Defendants’ motion to
                   compel arbitration.

           h.      Any of the deadlines in paragraphs (c) through (g) above may be
                   extended by the written consent of all parties without application to
                   the Court, provided that all fact discovery is completed by the date set
                   forth in paragraph (b).]

9.       Expert Discovery

         [Plaintiffs’ Proposal

           a.      Anticipated types of experts if any:
                   Accounting experts, experts regarding the ACN business opportunity;
                   structural economists, econometrics, and damages experts; experts
                   regarding class certification issues; and other experts to be determined
                   in due course.

           b.      All expert discovery shall be completed no later than June 2, 2020, or
                   such other date to be set following the submission of the parties’ joint
                   proposal pursuant to paragraph 2(c).


           c.      If you have identified types of experts in question 2(a), by February 3,
                   2020, the parties shall meet and confer and submit a joint proposal on
                   a schedule for expert disclosures, including reports, production of
                   underlying documents and depositions, provided that (i) expert
                   report(s) of the party with the burden of proof shall be due before
                   those of the opposing party’s expert(s); and (ii) all expert discovery
                   shall be completed by the date set forth in paragraph 2(b).]

         [Defendants’ Proposal

           a.      Experts regarding the direct selling and/or multi-level marketing
                   industries, and any other type of expert that any party shall
                   reasonably notice to the opposing side.

           b.      All expert discovery shall be completed no later than 90 days after the
                   date listed in paragraph 8(b) (i.e., the close of fact discovery).]

10.      This case is [is   X__/ is not          ] to be tried to a jury.
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11.   Counsel for the parties have conferred and their present best estimate of the length of
      trial is two to four weeks________________________________________________.


12.   Status Letters and Conferences


      [Plaintiffs’ Proposal

         a.     By October 28, 2019, the parties shall submit a joint status letter, as
                outlined in Individual Rule IV.A.2.

         b.     By March 19, 2020, the parties shall submit a joint status letter, as
                outlined in Individual Rule IV.A.2 and, in the event that they have not
                already been referred for settlement discussions, shall also advise the
                Court whether or not they request a referral for settlement discussions.

         c.     On a date agreeable to the Court, no sooner than six weeks from June 2,
                2020, a pre-motion conference will be held for any anticipated dispositive
                motions.

                  i. A party wishing to file a summary judgment or other dispositive
                     motion shall file a pre-motion letter at least two weeks before the
                     conference and in the form provided in the Court’s Individual Rule
                     III.A.1. Any party wishing to oppose shall file a responsive letter as
                     provided in the same Individual Rule. The motion will be discussed at
                     the conference.

                  ii. If no pre-motion letter is timely filed, this conference will be canceled
                      and the matter placed on the Court’s trial-ready calendar. The parties
                      will be notified of the assigned trial-ready date and the filing
                      deadlines for pretrial submissions. The parties are warned that any
                      settlement discussions will not stay pretrial deadlines or the trial
                      date.]




                   -
        [Defendants’ Proposal


        a.      By ______, the parties shall submit a joint status letter, as outlined in
                Individual Rule IV.A.2.

                The parties have already appeared before the Court for an initial case




                   -
                management hearing.


        b.      By ______, the parties shall submit a joint status letter, as outlined in
                Individual Rule IV.A.2 and, in the event that they have not already
                been referred for settlement discussions, shall also advise the Court
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               whether or not they request a referral for settlement discussions as
               provided in Paragraph 4(c) above.

               The parties have already appeared before the Court for an initial case
               management hearing.



        c.     On a date agreeable to the Court, no sooner than six weeks from the
               close of all discovery, a pre-motion conference will be held for any
               anticipated dispositive motions.

                 i. A party wishing to file a summary judgment or other dispositive
                    motion shall file a pre-motion letter at least two weeks before the
                    conference and in the form provided in the Court’s Individual Rule
                    III.A.1. Any party wishing to oppose shall file a responsive letter as
                    provided in the same Individual Rule. The motion will be discussed
                    at the conference.

                 ii. If no pre-motion letter is timely filed, this conference will be
                     canceled, and the matter placed on the Court's trial-ready calendar.
                     The parties will be notified of the assigned trial-ready date and the
                     filing deadlines for pretrial submissions. The parties are warned
                     that any settlement discussions will not stay pretrial deadlines or
                     the trial date.]

[Plaintiffs’ Proposal

       This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(h)) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(h), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no
less than 2 business days prior to the expiration of the date sought to be extended.

      The Clerk of Court is directed to enter the dates under paragraphs 8, 9, and 12 into
the Court’s calendar.]

[Defendants’ Proposal

        This Order may not be modified or the dates herein extended, except as provided
in paragraph 8(h)) or by further Order of this Court for good cause shown. Any
application to modify or extend the dates herein, except as provided in paragraph 8(h),
shall be made in a written application in accordance with the Court's Individual Rules
and shall be made no less than 2 business days prior to the expiration of the date sought
to be extended.
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       The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)
and 12 (c) into the Court’s calendar.]
       SO ORDERED.

Dated: New York, New York

                                                   LORNA G. SCHOFIELD
                                                   United States District Judge
